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09/08/2017 08:11 AM CDT




                                                              - 132 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                                FARMERS CO-OP v. STATE
                                                   Cite as 297 Neb. 132



                          Farmers Cooperative,                a cooperative corporation
                                organized under the laws of the State of
                                   Nebraska, appellant, v. State of
                                      Nebraska et al., appellees.
                             Frontier Cooperative Company, a cooperative
                             corporation organized under the laws of the
                                State      ofNebraska, appellant, v. State                of
                                            Nebraska et al., appellees.
                                                       ___ N.W.2d ___

                                        Filed July 7, 2017.    Nos. S-16-312, S-16-313.

                                                 supplemental opinion

                  Appeals from the District Court for Lancaster County:
               A ndrew R. Jacobsen, Judge. Supplemental opinion: Former
               opinion modified. Motion for rehearing overruled.

                 Thomas E. Jeffers and Andrew C. Pease, of Crosby Guenzel,
               L.L.P., for appellants.

                 Douglas J. Peterson, Attorney General, and L. Jay Bartel for
               appellees.

                 Heavican, C.J., Wright, Miller‑Lerman, Cassel, K elch,
               and Funke, JJ.

                  Per Curiam.
                  Cases Nos. S‑16‑312 and S‑16‑313 are before this court on
               the appellees’ motion for rehearing concerning our opinion
                                    - 133 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
                           FARMERS CO-OP v. STATE
                              Cite as 297 Neb. 132
in Farmers Co‑op v. State.1 We overrule the motion, but we
modify the original opinion as follows:
   (1) We withdraw the last two sentences in the paragraph
preceding the subheading “(b) Frontier’s Refund Claims”
and substitute the following: “Farmers appealed the Tax
Commissioner’s decision to the district court for Lancaster
County.”2
   (2) We withdraw the last two sentences in the paragraph
preceding the subheading “(c) District Court’s Decisions”
and substitute the following: “Frontier appealed the Tax
Commissioner’s decision to the district court for Lancaster
County.”3
   (3) We withdraw the second to the last sentence in the
second paragraph under the subheading “3. The Cooperatives
Failed to Establish They Were Entitled to R efund of Taxes
Denied by Tax Commissioner” and substitute the following:
“Neither of the Cooperatives requested a formal hearing from
the Department prior to the Tax Commissioner taking action
on their refund claims, so no additional evidence was devel-
oped on the record regarding the denied claims.”4 And we
withdraw the last sentence of that same paragraph, which
stated, “Further, the Cooperatives did not submit any addi-
tional evidence to the district court on its appeal.”5
   The remainder of the opinion shall remain unmodified.
	                             Former opinion modified.
	Motion for rehearing overruled.
   Stacy, J., not participating.

 1	
      Farmers Co‑op v. State, 296 Neb. 347, 893 N.W.2d 728 (2017).
 2	
      Id. at 351, 893 N.W.2d at 733.
 3	
      Id. at 352, 893 N.W.2d at 734.
 4	
      Id. at 364, 893 N.W.2d at 740.
 5	
      Id.